                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

THOMAS GENE WRIGHT,                            )
                                               )
              Petitioner,                      )
                                               )
v.                                             )      Nos.: 3:13-CR-45-TAV-CCS-12
                                               )            3:16-CV-665-TAV
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )


                               MEMORANDUM OPINION

        Before the Court are competing motions: Petitioner seeks permission to voluntarily

dismiss his collateral challenge without prejudice under Federal Rule of Civil Procedure

41(a)(2) [Doc. 1664]; the United States asks that this Court deny and dismiss that same

collateral challenge with prejudice in light of Beckles v. United States, 137 S. Ct. 886, 894

(2017) [Doc. 1669].

        Petitioner filed the underlying motion to vacate, set aside, or correct his sentence

under 28 U.S.C. § 2255 on June 16, 2016 [Doc. 1560].1 In it, he: (1) challenges his

enhancement under Section 4B1.1 of the United States Sentencing Guidelines based on

Johnson v. United States, 135 S. Ct. 2551 (2015), which held that the residual provision of

the Armed Career Criminal Act (ACCA), 18 U.S.C. § 924(e), was unconstitutionally vague

[Id. (suggesting that his sentence is no longer valid because the Guidelines residual provision


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        On February 11, 2016, this Court appointed Federal Defender Services of Eastern
Tennessee (FDSET) for the limited purpose of reviewing the case to determine whether or not
Petitioner is eligible for collateral relief based on Johnson v. United States, 135 S. Ct. 2551
(2015). See E.D. Tenn. SO-16-02 (Feb. 11, 2016). Consistent with that appointment, Petitioner
filed a pro se request for reduction [Doc. 1560], and FDSET filed a supplement [Doc. 1627].



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is equally vague)].2 The United States responded in opposition [Doc. 1575]; Petitioner

replied in turn [Doc. 1627].

       On March 6, 2017, the Supreme Court held in Beckles that the United States

Sentencing Guidelines are “not amenable to vagueness challenges.” 137 S.Ct. at 894. Two

weeks later, this Court entered an Order (1) explaining that Beckles necessarily meant that

“Johnson . . . does not undermine sentences based on Guideline enhancements;” (2)

instructing the parties to “file any motion that they want[ed] the Court to consider in

conjunction with, or prior to, ruling on [the instant] petition[] on or before April 1, 2017;”

and (3) requiring that responsive pleadings be filed on or before April 15, 2017 [Doc. 1663].

Shortly thereafter, this Court received the instant motions for dismissal with and without

prejudice [Docs. 1664, 1669].




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       The ACCA mandates a fifteen-year sentence for any felon who unlawfully possesses a
firearm after having sustained three prior convictions “for a violent felony or a serious drug
offense, or both, committed on occasions different from one another.” 18 U.S.C. § 924(e)(1).
The statute defines “violent felony” as “any crime punishable by imprisonment for a term
exceeding one year” that (1) “has as an element the use, attempted use, or threatened use of
physical force against the person of another” (the “use-of-physical-force clause”); (2) “is
burglary, arson, or extortion, involves the use of explosives” (the “enumerated-offense clause”);
or (3) “otherwise involves conduct that presents a serious potential risk of physical injury to
another” (the “residual clause”). 18 U.S.C. § 924(e)(2)(B). It was this third clause—the residual
clause—that the Supreme Court deemed unconstitutional in Johnson. 135 S. Ct. at 2563.

Section 4B1.1 enhances a defendant’s offense level if he or she qualifies as a “career offender,”
i.e., adult defendant whose offense of conviction is a “crime of violence or controlled substance
offense” and who has “at least two prior felony convictions of either a crime of violence or a
controlled substance offense.” U.S. Sentencing Manual § 4B1.1(a). “Crime of violence” under
the Guidelines is defined in an almost identical manner as “violent felony” under the ACCA.
See U.S. Sentencing Manual § 4B1.2(a) (adopting identical use-of-force and residual clauses as
well as a nearly identical enumerated-offense clause).


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I.      MOTION FOR VOLUTNARY DISMISSAL WITHOUT PREJUDICE

        Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that a movant may

voluntarily dismiss an action without a court order by filing “a notice of dismissal before the

opposing party serves either an answer or a motion for summary judgment[.]” Subsection

(B) states the following:

        Unless the notice of dismissal or stipulation states otherwise, the dismissal is
        without prejudice. But if the plaintiff previously dismissed any federal—or
        state—court action based on or including the same claim, a notice of dismissal
        operates as an adjudication on the merits.

Fed. R. Civ. P. 41(a)(1)(B). By contrast, Federal Rule of Civil Procedure 41(a)(2) provides

that “[e]xcept as provided in Rule 41(a)(1), an action may be dismissed at the plaintiff’s

request only by court order, on terms that the court considers proper.” Because the United

States responded in in opposition to the § 2255 motion and because that response addressed

the merits of the petition, Petitioner’s ability to voluntarily dismiss the instant action depends

on Rule 41(a)(2).

        Whether to grant voluntary dismissal under Rule 41(a)(2) is within the sound

discretion of the district court. Grover by Grover v. Eli Lilly and Co., 33 F.3d 716, 718 (6th

Cir. 1994). An abuse of discretion exists “only where the [non-movant] would suffer ‘plain

legal prejudice’ as a result of a dismissal without prejudice, as opposed to facing the mere

prospect of a second lawsuit.” Id. (quoting Cone v. West Virginia Pulp & Paper Co., 330

U.S. 212, 217 (1947)). In determining whether the non-movant will suffer “plain legal

prejudice,” the district court should consider the following: “the [non-movant’s] effort and

expense of preparation for trial, excessive delay and lack of diligence on the part of the

plaintiff in prosecuting the action, insufficient explanation for the need to take a dismissal,
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and whether a motion for summary judgment has been filed by the defendant.” Id. (citing

Kovalic v. DEC Int’l, Inc., 855 F.2d 471, 474 (7th Cir. 1988)). It is not necessary that every

factor be resolved in favor of the moving party for dismissal to be appropriate. The factors

only serve as a guide for the district court’s consideration in making its determination. See

Rast v. City of Pigeon Forge, No. 3:10-cv-52, 2011 WL 884941, at *3 (E.D. Tenn. Mar. 11,

2011) (quoting Rosenthal v. Bridgestone/Firestone, Inc., 217 F. App’x 498, 502 (6th Cir.

2007)).

       Petitioner cites the following in support of voluntary dismissal: (1) the petition

contained a legitimate and meritorious legal challenge when filed but was later rendered non-

meritorious by Beckles; (2) the United States expended little effort and expense in filing the

response by using the same form motion in numerous Johnson cases; and (3) there was no

lack of diligence or excessive delay on the part of Petitioner in requesting dismissal [Doc.

1664]. The United States responded by challenging the first and second assertions, but not

the third [Doc. 1669].

       After considering the parties’ arguments and evaluating the instant case in light of the

Grover factors, this Court does not believe that dismissal without prejudice would be

appropriate.

       First, the United States expended significant effort in responding to the petition. Cf.

Rule 5 Governing Section 2255 Proceedings (explaining that the United States is not

required to respond to a § 2255 motion unless ordered to do so by the district court). In

addition to conducting an individualized evaluation of Petitioner’s case, the United States

researched and briefed several complex legal issues, including constitutional vagueness and

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retroactivity. The fact that it used similar or identical analysis in other Johnson-based post-

conviction challenges does not change the fact that the instant motion for relief resulted in, or

at least contributed to, a significant expenditure of time and resources.

       Second, allowing voluntarily dismissal without prejudice at this stage of the

proceeding, i.e., after the United States responds to the merits of the petition, could result in

widespread abuse and significant prejudice to the United States. Under the “Antiterrorism

and Effective Death Penalty Act of 1996,” petitioners cannot file a second or successive §

2255 petition in the district court until they move in the United States Court of Appeals for

an order authorizing the district court to consider that motion. See Rule 9 Governing Section

2255 Proceedings (“Before presenting a second or successive motion, the moving party must

obtain an order from the appropriate court of appeals authorizing the district court to consider

the motion.”). The standard for gaining leave to file a second or successive petition is

significantly higher than that involved with a petitioner’s initial collateral challenge. 28

U.S.C. § 2255(h). It is not hard to imagine that prisoners might circumvent the successive

filing barrier by submitting an initial § 2255 challenge, securing a response from the United

States, reviewing that response to determine whether he likes or dislikes his chances of

success, moving to voluntarily dismiss without prejudice under Rule 42(a)(2) when he

concludes that the odds of a favorable ruling are too slim, and submitting an entirely new

petition with distinct grounds of collateral attack. He could then repeat the process.

       Third, this Court disagrees that this case is distinguishable from a typical § 2255

motion because the theories for relief were legitimate and meritorious when filed [Doc. 1664

pp. 1, 3 (“[Petitioner] has provided the Court with a sufficient basis for the need to take a

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dismissal, namely, that the developing body of law in this matter morphed since the filing of

the § 2255 motion from a legitimate arguable claim, to a meritorious claim (due to Pawlak[v.

United States, 822 F.3d 902 (6th Cir. 2016)]), then finally a non-meritorious claim (due to

Beckles).”)]. While it is true that the Sixth Circuit held “that Johnson’s vagueness analysis

applie[d] equally to the Guidelines and, as a result, that the parallel residual provision

contained in Section 4B1.2 was void for vagueness,” Pawlak, 822 F.3d at 911, neither it nor

the Supreme Court ever held that the resulting rule applied on collateral review, see In re

Embry, No. 16-5447, 2016 WL 4056056, at *1 (6th Cir. July 29, 2016) (recognizing that “it

is not clear whether to treat Pawlak as a new rule that the Supreme Court has not yet made

retroactive [to cases on collateral review] or as a rule dictated by Johnson that the Supreme

Court has made retroactive”). In fact, the courts within this district have consistently held

that it would not. Henley v. United States, No. 1:14-cv-328-CLC, 2016 WL 2643002, at *2–

5 (E.D. Tenn. May 9, 2016) (concluding that the Supreme Court had not yet “made”

Johnson’s application in the Guideline context retroactive on collateral review); Lynn v.

United States, No. 3:15-cv-571-TWP, 2016 WL 1258487, at *2–4 (E.D. Tenn. Mar. 30,

2016) (same); Barnes v. United States, 3:15-cv-375-TAV, 2016 WL 1175092, at *2–4 (E.D.

Tenn. Mar. 23, 2016) (same); Frazier v. United States, No. 1:09-cr-188-CLC, 2016 WL

885082, at *2–6 (E.D. Tenn. Mar. 8, 2016) (same). As such, Beckles merely confirmed what

many courts within this district suspected to be true all along. See Beckles, 137 S. Ct. at 894

(explaining that the United States Sentencing Guidelines are “not amenable to vagueness

challenges”); Frazier, 2016 WL 885082, at *1 n. 1 (“Johnson’s effect on [Section]

4B1.2(a)’s residual clause is doubtful.”).

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         For the foregoing reasons, Petitioner’s request for voluntary dismissal will be denied.

Accord United States v. Hamilton, No. 3:12-cv-1928, 2012 WL 5292880, at *2 (N.D. Ohio

Oct. 25, 2012) (denying attempt to voluntarily dismiss a fully briefed § 2255 motion “in the

face of what [the petitioner] perceive[d] to be near certain defeat”).

II.      MOTION TO DENY AND DISMISS WITH PREJUDICE

         This Court is also in possession of the United States’ request to deny and dismiss the

challenge to Petitioner’s career offender status in light of Beckles. That motion will be

granted.

         A.     Standard of Review

         To obtain relief under 28 U.S.C. § 2255, Petitioner must demonstrate “(1) an error of

constitutional magnitude; (2) a sentence imposed outside the statutory limits; or (3) an error

of fact or law . . . so fundamental as to render the entire proceeding invalid.” Short v. United

States, 471 F.3d 686, 691 (6th Cir. 2006) (quoting Mallett v. United States, 334 F.3d 491,

496–97 (6th Cir. 2003)). He “must clear a significantly higher hurdle than would exist on

direct appeal” and establish a “fundamental defect in the proceedings which necessarily

results in a complete miscarriage of justice or an egregious error violative of due process.”

Fair v. United States, 157 F.3d 427, 430 (6th Cir. 1998).

         B.     Analysis

         As supplemented, the petition contains two grounds for a reduction. In the first,

Petitioner argues that his prior conviction for kidnapping no longer qualifies as a crime of

violence and that he lacks sufficient predicates for career offender enhancement [Docs. 1560,



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1627]. In the second, he requests a “two point” reduction under Amendments 782 and 788

[Id.].

                1.     Challenge to Career Offender Designation Based on Johnson

         To the extent that Petitioner argues that Johnson invalidated the Guidelines residual

clause and that his prior conviction for kidnapping cannot be categorized as a crime of

violence without that provision, that argument fails because the Guidelines are “not

amenable to vagueness challenges.” Beckles, 137 S. Ct. at 894. Because Johnson did not

affect Petitioner’s status as a career offender, that decision cannot serve as a basis for

granting the requested relief.

                2.      “Two Point” Reduction Under Amendments 782 and 788

         To the extent that Petitioner seeks a reduction based on Amendments 782 and 788, he

is not entitled to that reduction because he remains a career offender under Section 4B1.1 and

subject to the enhanced base offense level associated with that classification.

         The Guidelines provide that “if the offense level for a career offender . . . is greater

than the offense level otherwise applicable, the offense level [as a career offender] shall

apply.” U.S. Sentencing Manual § 4B1.1(b). Because Petitioner’s base offense level as a

career offender was and remains higher than the base offense level reduced by Amendments

782 and 788, no “reduction in [his] term of imprisonment is . . . authorized.”              U.S.

Sentencing Manual § 1B1.10, cmt. n.1(A). Stated another way, this Court lacks jurisdiction

to modify his sentence under 18 U.S.C. § 3582(c). See, e.g., United States v. Riley, 726 F.3d

756, 759 (6th Cir. 2013) (“[T]he sentences of career offenders under § 4B1.1 are not based

on § 2D1.1 ranges.”); United States v. Thompson, 714 F.3d 946, 950 (6th Cir. 2013)

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(“[S]tatus as a career offender essentially trumped the range established under the [drug]

guidelines.”); United States v. Payton, 617 F.3d 911, 914 (6th Cir. 2010) (“[A] defendant

convicted of [drug] charges but sentenced as a career offender under [Section] 4B1.1 is not

eligible for a reduction based on [a retroactive amendment to the drug guidelines].” (internal

quotations omitted)); United States v. Perdue, 572 F.3d 288, 292–93 (6th Cir. 2009) (same).

III.   CONCLUSION

       For the foregoing reasons, Petitioner’s motion for voluntary dismissal without

prejudice [Doc. 1664] will be DENIED, the United States’ motion to deny and dismiss with

prejudice [Doc. 1669] will be GRANTED, and Petitioner’s supplemented § 2255 motion

[Docs. 1560, 1627] will be DENIED and DISMISSED WITH PREJUDICE. This Court

will CERTIFY any appeal from this action would not be taken in good faith and would be

totally frivolous. Therefore, this Court will DENY Petitioner leave to proceed in forma

pauperis on appeal. See Fed. R. App. P. 24. Petitioner having failed to make a substantial

showing of the denial of a constitutional right, a certificate of appealability SHALL NOT

ISSUE. 28 U.S.C. § 2253; Fed. R. App. P. 22(b).

       ORDER ACCORDINGLY.


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE




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